Case 2:21-cv-04920-WLH-ADS   Document 270-4   Filed 02/09/23   Page 1 of 14 Page
                                  ID #:6260




                       EXHIBIT 3
Case 2:21-cv-04920-WLH-ADS      Document 270-4   Filed 02/09/23   Page 2 of 14 Page
                                     ID #:6261


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   12
      Attorneys for Specially Appearing
   13 Defendant David Tassillo
   14                      UNITED STATES DISTRICT COURT
   15              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16
        SERENA FLEITES,                           Case No. 21-cv-04920-CJC-ADS
   17
                   Plaintiff,
   18       v.                                    SPECIALLY APPEARING
                                                  DEFENDANT DAVID
   19 MINDGEEK S.A.R.L., a foreign entity;        TASSILLO’S OBJECTIONS AND
      MG FREESITES, LTD., a foreign entity;       RESPONSES TO PLAINTIFF’S
   20 MINDGEEK USA INCORPORATED, a                FIRST SET OF
      Delaware corporation; MG PREMIUM            INTERROGATORIES
   21 LTD, a foreign entity; MG GLOBAL
      ENTERTAINMENT INC., a Delaware
   22 corporation, 9219-1568 Quebec, Inc.
      (d/b/a MindGeek), a foreign entity;
   23 BERND BERGMAIR, a foreign
      individual; FERAS ANTOON, a foreign
   24 individual; DAVID TASSILLO, a foreign
      individual; COREY URMAN, a foreign
   25 individual; VISA INC., a Delaware
      corporation; COLBECK
   26 DOES 1-5; and BERGMAIR   CAPITAL
                                   DOES 1-5,
   27              Defendants.
   28
Case 2:21-cv-04920-WLH-ADS      Document 270-4        Filed 02/09/23   Page 3 of 14 Page
                                     ID #:6262


    1        Pursuant to Federal Rules of Civil Procedure 26 and 33, David Tassillo
    2 hereby provides the following Objections and Responses to Plaintiff’s First Set of
    3 Interrogatories (collectively, the “Interrogatories”). Mr. Tassillo provides these
    4 Objections and Responses with respect to discovery relating to personal
    5 jurisdiction contemplated by the Court’s Orders dated July 29, 2022. Mr. Tassillo
    6 expressly reserves his arguments as to lack of personal jurisdiction, and further
    7 objects to discovery to the extent it relates to issues other than personal
    8 jurisdiction, as set forth further below.
    9                              GENERAL OBJECTIONS
   10               Mr. Tassillo makes the following general objections to the
   11 Interrogatories and each and every definition and instruction set forth therein (the
   12 “General Objections”). These General Objections are incorporated into each of the
   13 responses to the Interrogatories set forth below. Nothing in these responses should
   14 be construed as a waiver of any of these General Objections.
   15        1.      Mr. Tassillo objects to the Interrogatories to the extent that they seek
   16 discovery of information that is not relevant to any party’s claims or defenses or
   17 proportional to the needs of the case.
   18        2.      Mr. Tassillo objects to the Interrogatories to the extent that they are
   19 vague, ambiguous or cumulative, and to the extent that they impose an undue
   20 burden or a burden broader than those imposed by the Federal Rules of Civil
   21 Procedure.
   22        3.      Mr. Tassillo objects to the Interrogatories to the extent that they seek
   23 information outside of his possession, custody and control.
   24        4.      Mr. Tassillo objects to the Interrogatories to the extent that they seek
   25 information already in Plaintiff’s possession, available in the public domain or
   26 otherwise equally available to Plaintiff.
   27        5.      Mr. Tassillo objects to the Interrogatories to the extent that they call
   28 for the disclosure of information that is privileged or exempt from discovery under

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Case 2:21-cv-04920-WLH-ADS      Document 270-4       Filed 02/09/23   Page 4 of 14 Page
                                     ID #:6263


    1 any privilege, protection or exemption under applicable law. Mr. Tassillo does not
    2 waive, and intends to preserve, any applicable privilege, protection or exemption.
    3 Nothing in these responses is intended as, or shall in any way be deemed, a waiver
    4 of any attorney-client privilege, any work-product protection, the Fifth Amendment
    5 privilege or any other applicable privilege, protection or exemption.
    6        6.      Mr. Tassillo objects to the Interrogatories to the extent that they call
    7 for the disclosure of information that would violate any law, rule or regulation and
    8 to the extent that they call for the disclosure of information that is protected from
    9 disclosure under any applicable privacy, data protection or other law or regulation.
   10        7.      Mr. Tassillo objects to the Interrogatories to the extent they call for
   11 information that is not reasonably calculated to lead to the discovery of admissible
   12 evidence regarding personal jurisdiction over Mr. Tassillo in California or the
   13 United States.
   14        8.      Mr. Tassillo objects to the Interrogatories to the extent they call for
   15 information beyond the scope of the limited jurisdictional discovery allowed by the
   16 Court in its Orders dated July 29, 2022. Mr. Tassillo further objects to the
   17 Interrogatories to the extent they are overbroad and not relevant to the theories of
   18 personal jurisdiction advanced by Plaintiff.
   19        9.      Mr. Tassillo will respond to each Interrogatory based on his present
   20 state of knowledge or belief. Mr. Tassillo’s responses are at all times subject to
   21 supplementation and revision in light of future investigation and analysis. Mr.
   22 Tassillo reserves the right to rely at any stage of this proceeding upon subsequently
   23 discovered information, or upon information not contained in his present responses
   24 because of lack of present knowledge, inadvertence or mistake.
   25        10.     Mr. Tassillo objects to the “Definitions” in the Interrogatories to the
   26 extent they define terms more broadly than the uniform definitions set forth in the
   27 Federal Rules of Civil Procedure, the Local Rules or other applicable rules.
   28        11.     Mr. Tassillo further objects to the definition of “MindGeek Entity”

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Case 2:21-cv-04920-WLH-ADS      Document 270-4       Filed 02/09/23   Page 5 of 14 Page
                                     ID #:6264


    1 and “MindGeek Related Entities” to the extent that the definition (i) is not relevant
    2 to any party’s claims or defenses or proportional to the needs of the case, (ii) is
    3 vague, ambiguous, or imposes an undue burden, or (iii) seeks information outside
    4 of Mr. Tassillo’s possession, custody and control. As used herein, “MindGeek
    5 Corporate Defendants” refer to corporate defendants in this action: MindGeek
    6 S.A.R.L., MG Freesites, Ltd., MindGeek USA Incorporated, MG Premium Ltd.,
    7 MG Global Entertainment Inc. and 9219-1568 Quebec Inc.
    8        12.     Mr. Tassillo objects to the definition of the “Relevant Time Period”
    9 to the extent it requests information before June 1, 2014 or after June 17, 2021, the
   10 date on which Plaintiff commenced this proceeding, because such information
   11 would be irrelevant to the Court’s jurisdictional inquiry and therefore exceeds the
   12 scope of discovery authorized by the Court’s July 29 Order. As used herein,
   13 “Relevant Time Period” refers to June 1, 2014 through June 17, 2021.
   14        13.     Mr. Tassillo objects to all Interrogatories, or portions thereof, to the
   15 extent that they imply the existence of facts or circumstances that do not or did not
   16 exist, and to the extent that they state or assume factual or legal conclusions. In
   17 responding, Mr. Tassillo does not admit the factual or legal premise of any
   18 Interrogatory. No incidental or implied admissions are intended by this response.
   19        14.     The Objections and Responses provided herein, including the
   20 objection to or failure to object to any Interrogatory, shall not be construed as
   21 making any representations regarding the existence or non-existence of specific
   22 information in Mr. Tassillo’s possession, custody or control.
   23        15.     The Objections and Responses herein respond solely with respect to
   24 Mr. Tassillo, and not to MindGeek Corporate Defendants or other individuals or
   25 entities.
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Case 2:21-cv-04920-WLH-ADS      Document 270-4       Filed 02/09/23   Page 6 of 14 Page
                                     ID #:6265


    1                   SPECIFIC OBJECTIONS AND RESPONSES
    2        Interrogatory No. 1:
    3
            Identify all individuals or entities who hold, or have held during the
    4 Relevant Time Period, any direct, indirect, or beneficial economic interest by way
    5 of ownership, equity, shareholding, secured interest, indebtedness, option,
      derivative, trust, or otherwise in any MindGeek Related Entity or affiliate, and the
    6 precise nature and extent of that interest.
    7
    8        Response to Interrogatory No. 1:
    9        Mr. Tassillo objects to this Interrogatory on the grounds that it is vague,
   10 ambiguous, overbroad, unduly burdensome and seeks information beyond Mr.
   11 Tassillo’s present knowledge, custody or control. Mr. Tassillo also objects to this
   12 Interrogatory to the extent that it seeks information that can be obtained from a
   13 more convenient and less expensive source, namely, MindGeek Corporate
   14 Defendants. Mr. Tassillo further objects to this Interrogatory on the ground that it
   15 seeks information unrelated to or outside the scope of the jurisdictional discovery
   16 permitted by the Court’s July 29, 2022 Order.
   17        Subject to the foregoing Specific and General Objections, Mr. Tassillo states
   18 as follows:
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Case 2:21-cv-04920-WLH-ADS       Document 270-4       Filed 02/09/23   Page 7 of 14 Page
                                      ID #:6266


    1         Interrogatory No. 2:
    2
             Describe in detail each transaction during the Relevant Time Period in which
    3 ownership, shares, indebtedness, secured interests, options, derivatives, or other
    4 capital related transactions occurred involving a MindGeek Related Entity, and
      identify the direct and indirect participants in those transactions.
    5
    6         Response to Interrogatory No. 2:
    7         Mr. Tassillo objects to this Interrogatory on the grounds that it is overbroad,
    8 unduly burdensome and seeks information beyond Mr. Tassillo’s present
    9 knowledge, custody or control. Mr. Tassillo also objects on the grounds that
   10 phrases “other capital related transactions” and “indirect participants” are vague
   11 and ambiguous. Mr. Tassillo also objects to this Interrogatory to the extent that it
   12 seeks information that can be obtained from a more convenient and less expensive
   13 source, namely, MindGeek Corporate Defendants. Mr. Tassillo further objects to
   14 this Interrogatory on the ground that it seeks information unrelated to or outside the
   15 scope of the jurisdictional discovery permitted by the Court’s July 29, 2022 Order.
   16         Subject to the foregoing Specific and General Objections, Mr. Tassillo
   17
   18         Interrogatory No. 3:
   19
            Identify the date, participants, and content for every presentation or
   20 communication of financial or other economic performance to investors, lenders,
   21 or others with direct or indirect financial interests in any MindGeek Related Entity.
   22
              Response to Interrogatory No. 3:
   23
              Mr. Tassillo objects to this Interrogatory on the grounds that it is overbroad,
   24
        unduly burdensome and seeks information beyond Mr. Tassillo’s present
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        knowledge, custody or control. Mr. Tassillo also objects on the grounds that the
   26
        phrases “communication of financial or other economic performance” and
   27
        “indirect financial interest” are vague and ambiguous. Mr. Tassillo also objects to
   28
        this Interrogatory to the extent that it seeks information that can be obtained from a
                                                  5
Case 2:21-cv-04920-WLH-ADS       Document 270-4       Filed 02/09/23   Page 8 of 14 Page
                                      ID #:6267


    1 more convenient and less expensive source, namely, MindGeek Corporate
    2 Defendants. Mr. Tassillo further objects to this Interrogatory on the ground that it
    3 seeks information unrelated to or outside the scope of the jurisdictional discovery
    4 permitted by the Court’s July 29, 2022 Order.
    5         Subject to the foregoing Specific and General Objections, Mr. Tassillo states
    6 as follows:
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   14         Interrogatory No. 4:
   15
             Describe in detail all direct or indirect jurisdictional contacts within the
   16 relevant jurisdictions, i.e. the United States and California, that You or Your
   17 agents, or any of the MindGeek Related Entities and their owners, executives, and
      employees, have or had during the Relevant Time Period, including but not limited
   18 to, offices, residences, and real estate located in the relevant jurisdictions;
   19 personnel or vendors employed, retained, or paid located in the relevant
      jurisdictions; trips to the relevant jurisdictions; and revenues, profits, expenses,
   20 taxes earned or paid in or from the relevant jurisdictions; and communications or
   21 business relationships with, to, or in either of the relevant jurisdictions.
   22
              Response to Interrogatory No. 4:
   23
              Mr. Tassillo objects to this Interrogatory on the grounds that it overbroad,
   24
        unduly burdensome and seeks information beyond Mr. Tassillo’s present
   25
        knowledge, custody or control. Mr. Tassillo also object on the ground that the
   26
        phrase “direct or indirect jurisdictional contacts” is vague and ambiguous; Mr.
   27
        Tassillo maintains that his limited contact with California or the United States
   28
        during the Relevant Time Period does not support personal jurisdiction over him in
                                                  6
Case 2:21-cv-04920-WLH-ADS      Document 270-4       Filed 02/09/23   Page 9 of 14 Page
                                     ID #:6268


    1 this matter. Mr. Tassillo also objects to this Interrogatory to the extent that it seeks
    2 information that can be obtained from a more convenient and less expensive
    3 source, namely, MindGeek Corporate Defendants. Mr. Tassillo further objects to
    4 this Interrogatory to the extent it seeks information unrelated to or outside the
    5 scope of the jurisdictional discovery permitted by the Court’s July 29, 2022 Order.
    6        Subject to the foregoing Specific and General Objections, Mr. Tassillo states
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Case 2:21-cv-04920-WLH-ADS        Document 270-4       Filed 02/09/23   Page 10 of 14 Page
                                       ID #:6269


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     6         Interrogatory No. 5:
     7
             Identify all aliases used by MindGeek executives, personnel, or agents to
     8 communicate publicly or privately in any communications related to MindGeek’s
     9 business.
   10
               Response to Interrogatory No. 5:
   11
               Mr. Tassillo objects to this Interrogatory on the grounds that it is overbroad,
   12
         unduly burdensome and seeks information beyond Mr. Tassillo’s present
   13
         knowledge, custody or control. Mr. Tassillo also objects on the ground that the
   14
         term “alias” is vague and ambiguous, and to the extent it constitutes a conclusion
   15
         of law. Mr. Tassillo also objects to this Interrogatory to the extent that it seeks
   16
         information that can be obtained from a more convenient and less expensive
   17
         source, namely, MindGeek Corporate Defendants. Mr. Tassillo further objects to
   18
         this Interrogatory on the ground that it seeks information unrelated to or outside the
   19
         scope of the jurisdictional discovery permitted by the Court’s July 29, 2022 Order.
   20
               Subject to the foregoing Specific and General Objections, Mr. Tassillo
   21
         responds
   22
   23
               Interrogatory No. 6:
   24
   25        Identify all social media accounts, email accounts, cell numbers, text, or
      other communications services or applications used by the Individual Defendants
   26 directly or through any MindGeek Related Entity during the Relevant Time Period.
   27
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Case 2:21-cv-04920-WLH-ADS      Document 270-4       Filed 02/09/23   Page 11 of 14 Page
                                     ID #:6270


     1        Response to Interrogatory No. 6:
     2        Mr. Tassillo objects to this Interrogatory on the grounds that it is vague,
     3 ambiguous, overbroad, unduly burdensome and seeks information beyond Mr.
     4 Tassillo’s present knowledge, custody or control. Mr. Tassillo also objects to this
     5 Interrogatory to the extent that it seeks information that can be obtained from a
     6 more convenient and less expensive source, namely, MindGeek Corporate
     7 Defendants. Mr. Tassillo further objects to this Interrogatory on the ground that it
     8 seeks information unrelated to or outside the scope of the jurisdictional discovery
     9 permitted by the Court’s July 29, 2022 Order.
   10         Subject to the foregoing Specific and General Objections, Mr. Tassillo states
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Case 2:21-cv-04920-WLH-ADS   Document 270-4        Filed 02/09/23   Page 12 of 14 Page
                                  ID #:6271


     1 Dated:     September 22, 2022
     2
     3                              MORVILLO ABRAMOWITZ GRAND
                                    IASON & ANELLO PC
     4
     5                              By:       /s/ Jonathan S. Sack         -
     6                                    Jonathan S. Sack (admitted pro hac vice)
     7                                    Karen R. King (admitted pro hac vice)
                                          Ryan McMenamin (admitted pro hac vice)
     8
                                          Attorneys for Specially Appearing
     9                                    Defendant David Tassillo
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Case 2:21-cv-04920-WLH-ADS   Document 270-4   Filed 02/09/23   Page 13 of 14 Page
                                  ID #:6272
Case 2:21-cv-04920-WLH-ADS       Document 270-4        Filed 02/09/23   Page 14 of 14 Page
                                      ID #:6273


     1                            CERTIFICATE OF SERVICE
     2        I hereby certify that on September 22, 2022, I served a true and correct copy
     3 of Specially Appearing Defendant David Tassillo’s Objections and Responses to
     4 Plaintiff’s First Set of Interrogatories via electronic mail on Plaintiff’s counsel,
     5 Michael J. Bowe (mbowe@brownrudnick.com), Lauren Tabaksblat
     6 (ltabaksblat@brownrudnick.com), and David M. Stein
     7 (dstein@brownrudnick.com).
     8                                                /s/ Raymond Moss           -
     9                                              Raymond Moss
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